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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   LEXINGTON DIVISION

    IN RE:

    HDR FARMS INCORPORATED                                                            CASE NO. 20-50888

    DEBTOR

    HDR FARMS INCORPORATED
    LIQUIDATING TRUST                                                                           PLAINTIFF

    V.                                                                                   ADV. NO. 21-5166

    APPLIED BOTANICS LLC f/k/a XSI                                                          DEFENDANTS
    USA, LLC, et al


                            SECOND AMENDED ORDER FOR TRIAL

         It is ORDERED:

         1. The parties shall have to and through May 26, 2022, to complete discovery.

        2. All dispositive motions shall be filed on or before June 2, 2022. Any response shall
be filed on or before June 16, 2022, and any reply shall be filed on or before June 23, 2022.
The dispositive motions shall come before the Court for a hearing at 9:00 a.m. on July 21,
2022, in the U.S. Bankruptcy Court, Community Trust Building, Second Floor
Courtroom, 100 East Vine Street, Lexington, Kentucky.

       3. The parties shall explore settlement of the within matter and file a joint report
advising that the settlement conference was held and the results thereof on or before July 27,
2022.

        4. On or before July 27, 2022, the parties shall produce for inspection by the opposing
party(ies) and file an Exhibit List and copies of all exhibits that are to be placed in evidence.
The exhibits shall be marked with exhibit numbers and the pages of each shall be numbered.
Unless written objections to the authenticity and/or admissibility of each such exhibit are filed
on or before August 10, 2022, the exhibit shall be deemed authentic and may be admitted upon
request of the party to admit the exhibit into evidence at trial. In the absence of good cause, no
exhibit may be offered in evidence except upon compliance with the conditions contained in
this order. All exhibits shall be presented using the Court's Evidence Presentation System
(“EPS”). 1

1
 Information available at http://www.kyeb.uscourts.gov Judges Info - Special Instructions - Evidence Presentation
Systems (EPS)
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                       5. Counsel are required to contact the Courtroom Deputy to schedule EPS Training on
                or before August 10, 2022. Counsel are required to complete the EPS Training no later than
                August 19, 2022.

                           6. The parties shall file Joint Stipulations of Fact on or before August 10, 2022.2

                        7. By August 10, 2022, each party shall file a Trial Brief which shall include a list of
                witnesses expected to be called at trial, with summary of anticipated testimony. The Trial Brief
                shall set forth the issues in question, a summary of what the evidence will tend to prove, and
                case and statutory authority in support of the respective positions of the parties.

                       8. Trial of this proceeding shall be held at 9:00 a.m. (prevailing time) on August 24-
                25, 2022, in the U.S. Bankruptcy Court, Community Trust Building, Second Floor
                Courtroom, 100 East Vine Street, Lexington, Kentucky.

                       Counsel for the parties are further directed to inform the court and file a Notice of
                Settlement herein as soon as any settlement is reached which disposes of the matter set for trial.

                        9. No requests for continuance of the trial will be considered unless a motion for
                continuance is filed and served on opposing counsel or parties appearing pro se at least 21 days
                prior to the date scheduled for trial. Such motion must be accompanied by the affidavit of a
                party or counsel for a party detailing the factual basis for the relief requested.

                       Parties are directed to review the “Clerk’s Notice Re: Resumption of On-Site Hearings,”
                which is posted at https://www.kyeb.uscourts.gov/news/resumption-site-hearings.




                2
                    Instructions available at http://www.kyeb.uscourts.gov Judge’s Info – Special Instructions – Joint Stipulations Preparation.

                                                                            2



___________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.


                                                                                Signed By:
                                                                                Gregory R. Schaaf
                                                                                Bankruptcy Judge
                                                                                Dated: Monday, April 25, 2022
                                                                                (grs)
